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dn the
United States Court of Appeals

For the Eleventh Circuit

No. 23-12364

KATIE CHUBB,
AUGUSTA BIRTH CENTER, INC.,

Plaintiffs-Appellants,
versus

COMMISSIONER FOR THE GEORGIA DEPARTMENT OF
COMMUNITY HEALTH,

INTERIM EXECUTIVE DIRECTOR, HEALTH PLANNING,
CHAIRMAN OF THE BOARD OF COMMUNITY HEALTH,

Defendants-Appellees.

Appeal from the United States District Court
for the Northern District of Georgia
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2 Order of the Court 23-12364

D.C. Docket No. 1:22-cv-03289-TWT

ORDER:
Joint Motion to Dismiss Appeal is GRANTED.

DAVID J. SMITH
Clerk of the United States Court of
Appeals for the Eleventh Circuit

ENTERED FOR THE COURT - BY DIRECTION
